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           12
                                  UNITED STATES DISTRICT COURT
           13
                    CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
           14
           15
                  A.M.,                                         Case No. 2:16-cv-03595-PSG-FFM
           16
                                Plaintiff,                      PROOF OF SERVICE OF NOTICE
           17                                                   OF CLERICAL ERROR; NOTICE
                          v.                                    OF ASSIGNMENT TO UNITED
           18                                                   STATES JUDGES; STANDING
              VALVE CORPORATION and DOES 1                      ORDER REGARDING NEWLY
           19 through 10, inclusive,                            ASSIGNED CASES; AND NOTICE
                                                                TO PARTIES OF COURT-
           20                   Defendants.                     DIRECTED ADR PROGRAM
           21
           22             At the time of service, I was over 18 years of age and not a party to this
           23 action. I am employed in the County of San Diego, State of California. My
           24 business address is 101 West Broadway, Ninth Floor, San Diego, CA 92101-8285.
           25             On May 25, 2016, I served true copies of the following document(s)
           26 described as
           27             •     NOTICE OF CLERICAL ERROR-NOTICE OF ASSIGNMENT;
           28             •     NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES;
  PAUL, PLEVIN,
                                                   1           Case No. 2:16-cv-03595-PSG-FFM
   SULLIVAN &      PROOF OF SERVICE OF NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES; STANDING ORDER;
CONNAUGHTON LLP                  AND NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM
                    Case 2:16-cv-01166-TSZ Document 12 Filed 05/25/16 Page 2 of 2




             1         •      STANDING ORDER REGARDING NEWLY ASSIGNED
                              CASES;
             2
                       •      NOTICE TO PARTIES OF COURT-DIRECTED ADR
                              PROGRAM
             3
             4 on the interested parties in this action as follows:
             5         Chad Biggins
                       Biggins Law Group
             6         3701 Wilshire Blvd., Suite 410
                       Los Angeles, CA 90010
             7         Telephone: 213-387-3100
                       Facsimile: 213-387-3101
             8         Email: chadbiggins@gmail.com
             9         Attornev for Plaintiff
            10         BY MAIL: I enclosed the document(s) in a sealed envelope or package
            11 addressed to the persons at the addresses listed in the Service List, with postage
            12 thereon fully prepaid. I placed each such envelope or package for deposit with
            13 United States Postal Service, this same day, at my business address shown above,
            14 following ordinary business practices.
            15         I declare under penalty of perjury under the laws of the United States of
            16 America that the foregoing is true and correct and that I am employed in the office
            17 of a member of the bar of this Court at whose direction the service was made.
            18         Executed on May 25, 2016, at San Diego, California.
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            28
                                                            2              Case No. 2:16-cv-03595-PSG-FFM
  PAUL, PLEVIN,
   SULLIVAN &     PROOF OF SERVICE OF NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES; STANDING ORDER;
CONNAUGHTON LLP                 AND NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM
